             Case 4:16-cr-06046-SMJ                          ECF No. 180                filed 06/19/17              PageID.756 Page 1 of 1
O PS 8
(3/15)


                                           UNITED STATES DISTRICT COURT                                                                               FILED IN THE
                                                                                                                                                  U.S. DISTRICT COURT
                                                                                                                                            EASTERN DISTRICT OF WASHINGTON
                                                                                      for
                                                             Eastern District of Washington                                                  Jun 19, 2017
                                                                                                                                                  SEAN F. MCAVOY, CLERK




 U.S.A. vs.                                    Macias, Joel                                           Docket No.                   0980 4:16CR06046-004


                                              Petition for Action on Conditions of Pretrial Release

        COMES NOW Daniel M. Manning, PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant Joel Macias, who was placed under pretrial release supervision by the Honorable U.S. Magistrate
Judge Mary K. Dimke sitting in the court at Yakima, Washington, on the 3rd day of October, 2016 under the following
conditions:

Condition #1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall advise the supervising Pretrial Services Officer and defense
counsel within one business day of any charge, arrest, or contact with law enforcement. Defendant shall not work for the United States government or any federal or state
law enforcement agency, unless Defendant first notifies the supervising Pretrial Services Officer in the captioned manner.


           RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                                    (If short insert here; if lengthy write on separate sheet and attach.)

Violation #1: Committing the offense of Driving with License Suspended in the 3rd Degree on or about May 9, 2017.

                             PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME

                                                                                                         I declare under the penalty of perjury
                                                                                                         that the foregoing is true and correct.
                                                                                                         Executed on:              June 19, 2017
                                                                                             by          s/Daniel M. Manning
                                                                                                         Daniel M. Manning
                                                                                                         U.S. Pretrial Services Officer


 THE COURT ORDERS

 [ X]       No Action
 [ ]        The Issuance of a Warrant
 [ ]        The Issuance of a Summons
 [ ]        The incorporation of the violation(s) contained in this
            petition with the other violations pending before the
            Court.
 [ ]        Defendant to appear before the Judge assigned to the case.
 [ ]        Defendant to appear before the Magistrate Judge.
 [ ]        Other

                                                                                                            Signature of Judicial Officer
                                                                                                          6/19/2017


                                                                                                            Date
